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Exhibit A
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Attorneys for Defendant Watchtower Bible and Tract Society ofNew York, Inc.
                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                              BILLINGS DIVISION

TRACY CAEKAERT, and CAMILLIA) Cause No. CV 20-52-BLG-SPW
MAPLEY,                     ~
                            ) DEFENDANT WATCHTOWER
          Plaintiffs,       ) BIBLE AND TRACT SOCIETY OF
                            ~ NEW YORK INC. 'S RESPONSES
      vs.                   ) TO PLAINTIFFS' FOURTH SET
                            ) OF COMBINED
WATCHTOWER BIBLE AND        ~ INTERROGATORIES, REQUESTS
TRACT SOCIETY OF NEW YORK, ) FOR PRODUCTION, AND
INC., WATCH TOWER BIBLE AND ) REQUESTS FOR ADMISSION
                            )
TRACT SOCIETY OF            )
PENNSYLVANIA, and BRUCE     )
MAPLEYSR.,                  )
                                                      )
                                                      )
                Defendants.                           )
                                                      )
                                                      )
                                                      )
WATCHTOWER BIBLE AND                                  )
TRACT SOCIETY OF NEW YORK,                            )
INC.                                                  )
                                                      )
                                                      )

                 Defendant Watchtower Bible and Tract Society of New York, Inc.'s Responses to
   Plaintiffs' Fourth Set of Combined Interrogatories, Requests for Production, and Requests for Admission- I
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                     Cross-Claimant,                     )
                                                         )
                                                         )
vs.                                                      )
                                                         )
                                                         )
BRUCE MAPLEY SR.,                                        )
                                                         )
                      Cross-Claim Defendant. )
                                                         )
                                                         )




TO:       Plaintiffs and their counsel, Robert L. Stepans, Ryan R. Shaffer, and James C.
          Murnion, MEYER SHAFFER & STEPANS PLLP, 430 Ryman Street,
          Missoula, MT 59802

          COMES NOW Defendant Watchtower Bible and Tract Society of New

York, Inc. (hereinafter "WTNY"), by and through its attorneys, and provides its

responses to Plaintiffs' Fourth Set of Combined Interrogatories, Requests for

Production, and Requests for Admission to Defendant WTNY:

                                         INTERROGATORIES

          INTERROGATORY NO. 19: Please identify the "Deskmen" for Montana

in the Service and Legal Departments for the period 1973 to 2020 (this includes

the period of time when the abuse alleged in this case occurred, as well as the

period of time set fmih in WTNY' s Second Supplemental Privilege Log).

          ANSWER: WTNY objects on the grounds that this Interrogatory goes

beyond the 25 interrogatory limit provided in Rule 33(a)(l), Fed.R.Civ.P. See, e.g.,

Kleiman v. Wright, 2020 WL 1666787 (S.D. Fla. April 3, 2020). WTNY fmiher

                    Defendant Watchtower Bible and Tract Society of New York, Inc.' s Responses to
      Plaintiffs' Fomth Set of Combined Interrogatories, Requests for Production, and Requests for Admission- 2
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         J.C. Booth
         F.W. Franz
         J.O. Groh
         M. G. Henschel
         W .K. Jackson
         T. Jaracz
         N.H. Knorr
         G. Suiter
         L.A. Swingle

For each of the individuals identified above, during the time they were acting in

their role as directors of WTNY, they were governed by WTNY's Bylaws (see

WTNY00084-WTNY000091 ); during the time they were acting as members of the

ecclesiastical Governing Body of Jehovah's Witnesses, they were governed by the

Bible.

                              REQUESTS FOR PRODUCTION

         REQUEST FOR PRODUCTION NO. 72: Please produce a copy of all

affidavits, declarations, or any other sworn statements by Jehovah's Witness

Organization officials (whether representatives of WTNY, WTPA, CCJW, or

otherwise) regarding the following issues: attorney-client privilege; clergy-penitent

privilege; storage or retention of information regarding child sex abuse at Jehovah's

Witness congregations; and the organization of the various Jehovah's Witness

entities, departments, and offices over time.

         RESPONSE: WTNY objects to this Request for Production in that it is

overbroad as to time and scope. See Doc. 85, p. 7 (Court concluding documents and


                Defendant Watchtower Bible and Tract Society of New York, Inc. 's Responses to
  Plaintiffs' Fourth Set of Combined Interrogatories, Requests for Production, and Requests for Admission- 10
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information produced after 1992 are irrelevant to demonstrate Plaintiffs' claims).

WTNY further objects to this Request for Production as vague and ambiguous as to

the terms "Jehovah's Witness Organization officials" and "child sex abuse at

Jehovah's Witness congregations." . WTNY also objects to this Request for

Production as overbroad as to time and scope and not proportional to the needs of

this case in that it requests sworn statements on behalf of entities other than the

Responding Defendant, including a corporate entity (CCJW) that was not formed

until years after the relevant time-period in this case. Subject to and without waiving

these objections, see documents bates numbered WTNY00803-WTNY00 104 7,

which are being produced subject to the Stipulated Confidentiality Agreement and

Protective Order (Doc. 110-1 ).

      REQUEST FOR PRODUCTION NO. 73: Please produce all documents

identifying the WTNY Legal Depmiment's staff for the period 1992 to 2020 (the

period of time set forth in WTNY's Second Supplemental Privilege Log).

      RESPONSE: WTNY objects to this Request for Production in that it is

overbroad as to time and scope. See Doc. 85, p. 7 (Comi concluding documents and

information produced after 1992 are irrelevant to demonstrate Plaintiffs' claims).

WTNY further objects to this Request for Production as compound, not proportional

to the needs of the case, irrelevant, overbroad, and vague and ambiguous as to the

request for "all documents identifying the WTNY' s Legal Department's staff' in


                Defendant Watchtower Bible and Tract Society of New York, Inc.'s Responses to
  Plaintiffs' Fourth Set of Combined Interrogatories, Requests for Production, and Requests for Admission- 11
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                                           VERIFICATION

       Thomas Jefferson, Jr., states that he has read the foregoing (Defendant

WTNY's Responses to Plaintiffs' Fourth Set of Combined Interrogatories, Requests

for Production, and Requests for Admission) and knows the contents thereof; that

said answers were prepared with the assistance and advice of counsel; that the

answers set forth herein, subject to inadvertent or undisclosed errors, are

necessarily limited by the records and information still in existence presently

recollected and thus far discovered in the course of the preparation of all answers.

Consequently, he reserves the right to make any changes to the answers if it

appears at any time that omissions or errors have been made therein or that more

accurate information is available; and that subject to the limitations set forth

herein, the answers are true to the best of his knowledge, information and belief.



                                                   Thomas J efferso

                                                   Dated: - - - - - - - - - - - -




                Defendant Watchtower Bible and Tract Society of New York, Inc.'s Responses to
  Plaintiffs' Fourth Set of Combined Interrogatories, Requests for Production, and Requests for Admission- 21
